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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

 IN THE MATTER OF THE SEARCH OF A
 2021 GRAY FORD EXPLORER, BEARING
                                                      Case No. 2:25-mj-73
 VIN 1FMSK8DH1MGB92281, CURRENTLY
 LOCATED AT 2700 IMPOUND LOT ROAD,
                                                      Filed Under Seal
 COLUMBUS, OHIO


                            AFFIDAVIT IN SUPPORT OF
                     AN APPLICATION FOR A SEARCH WARRANT

       1.      I, Special Agent Bradley Lowe, hereinafter referred to as your affiant, being first

duly sworn, hereby depose and state as follows:

                    I. INTRODUCTION AND AGENT BACKGROUND

       2.      I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and

Explosives (ATF), and have been since July 2022.              I was previously employed as a

Trooper/Criminal Investigator with the West Virginia State Police beginning in 2009. I am

currently assigned as a Special Agent at the ATF Columbus, Ohio Group 1 Field Office, also

known as the Central Ohio Crime Gun Intelligence Center (CGIC), as a member of the ATF Crime

Gun Enforcement Team (CGET) Task Force. As such, I am empowered under 18 U.S.C. § 3051

to conduct investigations of and make arrests for offenses committed against the United States.

Through my training and experience, I am familiar with state and federal laws related to, but not

limited to, firearms and violent crimes.      As an ATF agent, I primarily conduct criminal

investigations into violations of federal crimes related to firearms, controlled substances, crimes

of violence, arson, and explosives.




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       3.      The facts in this Affidavit come from my personal observations, personal

knowledge, information provided by other law enforcement officers, law enforcement records,

court-authorized searches, witness interviews, and my training and experience. This Affidavit is

intended to show merely that there is sufficient probable cause for the requested warrant and does

not set forth all my knowledge about this matter.

       4.      I have not included all the information relevant to the investigation in this Affidavit,

but I do not believe that I have omitted any information that would tend to defeat a showing of

probable cause. To the best of my knowledge and belief, all statements made in this Affidavit are

true and correct.

       5.      I submit this Affidavit in support of an application for a warrant to search a 2021

gray Ford Explorer, bearing Vehicle Identification Number (VIN) 1FMSK8DH1MGB92281,

currently located at the Columbus Division of Police (CPD) Impound Lot at 2700 Impound Lot

Road, Columbus, Ohio (within the Southern District of Ohio), hereinafter referred to as the

“SUBJECT VEHICLE,” and further described in Attachment A.

       6.      Based on the facts set forth in this Affidavit, there is probable cause to believe that

Dequan M. KEYS has violated the following federal statutes: 18 U.S.C. §§ 922(u) and 924(i)(1)

(theft of a firearm from a federal firearms licensee); 18 U.S.C. §§ 922(g)(1) and 924(a)(8)

(being a felon in possession of a firearm); 18 U.S.C. § 1951(a)(1) (Hobbs Act robbery); and

18 U.S.C. § 924(c)(1)(A) (use, carrying, and brandishing of a firearm during and in relation to a

crime of violence) [collectively, the “SUBJECT OFFENSES”]. There is also probable cause to

search the SUBJECT VEHICLE described in Attachment A for evidence, fruits, and/or

instrumentalities of the SUBJECT OFFENSES, as further described in Attachment B.




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                                    II. PROBABLE CAUSE

       7.      On January 26, 2025, at around 0800 hours, a male wearing a black ski mask with

white Nike swoosh and a black “Carhartt” style jacket entered the Turkey Hill Minit Market

located at 1953 Morse Road, Columbus, Ohio, within the Southern District of Ohio, and threatened

the clerk by pointing a black, pistol-style, firearm at the clerk while simultaneously demanding

money from the register. The male suspect received approximately $60 of U.S. paper currency

from the register before fleeing in a gray Ford Explorer.

       8.      The Turkey Hill Minit Market described above is owned by EG America which is

headquartered in Westborough, Massachusetts. Based on the nature of the business and the

merchandise purchased, delivered, and resold at that location, including gasoline and other fuel

products, the Turkey Hill Minit Market is engaged in interstate and/or foreign commerce.

       9.      Continuing on January 26, 2025, at approximately 0850 hours, CPD officers

stopped the SUBJECT VEHICLE, bearing Ohio license plate KIN6696, which matched the

description of the suspect’s vehicle from the robbery of the Turkey Hill. KEYS was identified as

the driver and sole occupant of the SUBJECT VEHICLE. At the time of the stop, KEYS had a

black, Glock 17, 9mm pistol (S/N: CDTW399), which matched the description of the firearm used

in the robbery of the Turkey Hill Minit Market, in his pants pocket, in addition to approximately

$83 of U.S. paper currency. Officers also discovered a black ski mask with white Nike swoosh

and a black Carhartt jacket inside the SUBJECT VEHICLE, both of which matched the clothing

description of the suspect who robbed the Turkey Hill Minit Market. The firearm was determined

to have been stolen from the Vance Outdoors located at 3723 Cleveland Avenue, Columbus, Ohio,

within the Southern District of Ohio. Following the stop, officers arrested KEYS and impounded

the SUBJECT VEHICLE.



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       10.     On January 26, 2025, at approximately 1300 hours, I traveled to the Vance

Outdoors on Cleveland Avenue, which is a federal firearms licensee, and reviewed archived

surveillance video from a recent theft. I observed that on January 17, 2025, at approximately 1020

hours, a male believed to be KEYS arrived at the store in a gray Ford Explorer bearing Ohio license

plate KIN6696, believed to be the SUBJECT VEHICLE, and stole a pistol from the display

counter. While employees were tending to other business, the male believed to be KEYS reached

over the display counter, slid open the cabinet, and took a black, Glock 17, 9mm pistol

(S/N: CDTW399). That firearm was the same firearm that KEYS possessed when CPD officers

stopped him in the SUBJECT VEHICLE on January 26, 2025.

       11.     Preliminary investigation revealed that the Glock firearm that KEYS possessed was

manufactured in Austria and imported by Glock Inc. in the State of Georgia, and, therefore, the

firearm travelled in and affected interstate commerce prior to it being stolen from Vance Outdoors.

       12.     A review of KEYS’s computerized criminal history and court records from the

Summit County (Ohio) Clerk of Courts website showed the following felony convictions which

prohibit him from possessing firearms:

               a.     Summit County Court of Common Pleas, Case No. CR-2021-05-1639:

                      1.      Attempted Failure to Comply with Order or Signal of Police Officer,
                              in violation of Ohio Revised Code §§ 2923.02, 2921.331(B), and
                              2921.331(C)(5)(a)(ii), a felony of the Fourth Degree; and

                      2.      Receiving Stolen Property (RSP), in violation of Ohio Revised Code
                              § 2913.51(A) and 2913.51(C), a felony of the Fourth Degree.

               b.     Summit County Court of Common Pleas, Case No. CR-2021-10-3713:

                      1.      Burglary, in violation of Ohio Revised Code § 2911.12(A)(1) and
                              2911.12(D), a felony of the Third degree.




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       13.     According to the Journal Entries in the cases described above, KEYS was sentenced

on or about April 1, 2022, to a combined one-year term of imprisonment for his Failure to Comply

and RSP convictions, to be served consecutively to a two-year term of imprisonment for his

Burglary conviction, for a total sentence of three years. Therefore, KEYS would have known of

the fact of his felony convictions prior to his firearm possession in January 2025.

       14.     Between January 21, 2025, and January 25, 2025, a black male robbed two other

Turkey Hill Minit Markets, a Little Caesars Restaurant, and a Dollar General Store of money at

gunpoint – all within the greater Columbus area. Additionally, on January 21, 2025, a black male

attempted to rob yet another Turkey Hill Minit Market at gunpoint but fled before obtaining any

money. Each of the businesses discussed in this paragraph engages in interstate commerce based

on the merchandise and products purchased, delivered, and resold at those locations.

       15.     The same suspect (KEYS) is believed to be responsible for all the robberies and

attempted robberies described above. Based on witness statements and surveillance footage, the

suspect’s physical description was similar for each event; the suspect seemingly wore the same

black ski mask with a white Nike swoosh on the left side; the suspect brandished a black pistol;

and the suspect used the same general method to carry out the robberies/attempted robbery.

In two instances, the suspect was described as wearing a “black Carhartt” jacket similar to the one

observed in the SUBJECT VEHICLE when KEYS was stopped on January 26, 2025. In one

instance, the suspect was described as wearing a “black zip up hoodie.” In another instance, the

suspect was described simply as wearing “black clothing.” Further, there were at least three

incidents when the suspect was reportedly wearing only a right-hand glove.             Finally, law

enforcement officers investigating the January 25th robbery of the Dollar General Store obtained a

latent fingerprint from the counter that matched KEYS’s fingerprint.



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       16.     After stopping KEYS in the SUBJECT VEHICLE on January 26, 2025

(within one hour of the robbery at the Turkey Hill Minit Market on Morse Road), CPD officers

arrested him and charged him with one count of aggravated robbery, in violation of Ohio Rev.

Code § 2911.01(A)(1), in Franklin County Municipal Case No. 2025CRA001220. That charge

was subsequently dismissed for future indictment. KEYS, however, remains in the custody of the

Ohio Adult Parole Authority for alleged parole violations.

       17.     On January 27, 2025, CPD Detective McGuire executed a state search warrant on

the SUBJECT VEHICLE and seized, at least, the following items:

               a.      Black Carhartt jacket.

               b.      Cellular phone.

               c.      Black mask with white Nike swoosh.

               d.      Empty firearm magazine.

               e.      Canister of chemical mace taken from inside the Carhartt jacket.

               f.      Eight (8) rounds of ammunition take from inside the Carhartt jacket.

       18.     I later spoke with Detective McGuire and inquired if there were any other items in

the SUBEJCT VEHICLE that were not seized pursuant to the state search warrant, and he advised

there were. Detective McGuire advised there were other clothing items that he did not collect, and

possibly a pair of gloves.

       19.     I am submitting this application for a search warrant to further search the

SUBJECT VEHICLE and to seize additional evidence, fruits, and/or instrumentalities of the

robberies and other crimes discussed above.




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                                       III. CONCLUSION

       20.     Based on the information set forth in this Affidavit, I submit there is probable cause

to believe that Dequan KEYS has committed violations of the SUBJECT OFFENSES. I further

submit there is probable cause to believe that the SUBJECT VEHICLE contains evidence, fruits,

and/or instrumentalities of these violations of federal law.

       21.     Accordingly, I respectfully request that this Court issue a warrant authorizing the

search of the SUBJECT VEHICLE, further described in Attachment A, and authorization to seize

the items described in Attachment B.

       22.     I further request that this Court issue an order sealing, until further Order of the

Court, all papers submitted in support of this application, including the application and the search

warrant. I believe that sealing these documents is necessary because the items and information to

be seized are relevant to an ongoing investigation into criminal activity, the entire extent of which

is not known at this time.

                                                      Respectfully submitted,



                                                      Special Ag
                                                              Agent Bradley Lowe
                                                      Bureau of ATF


Sworn to via telephone on this 14 day of February 2025, after submission by reliable electronic
means. Fed. R. Crim. P. 4.1 and 41(d)(3).



                                                      ___________________________________
                                                      KIMBERLY A. JOLSON
                                                      UNITED STATES MAGISTRATE JUDGE




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